Case 3:17-cv-00072-NKM-JCH Document 650-1 Filed 02/12/20 Page 1 of 4 Pageid#: 8641




                     EXHIBIT 1
    Case 3:17-cv-00072-NKM-JCH Document 650-1 Filed 02/12/20 Page 2 of 4 Pageid#: 8642




From:                                     Ken Kim <kkim@idsinc.com>
Sent:                                     Thursday, December 5, 2019 11:16 AM
To:                                       Roy III, Daniel P.
Cc:                                       Michael Bloch; Siegel, Joshua; Levine, Alan; iDS_SINKS-02678
Subject:                                  RE: Sines v. Kessler - Thomas Ryan Rousseau



[External]

Hi Dan:

We have not received any communications from Mr. Rousseau or his counsel.

As for Mr. Hopper, we received one device (Samsung Galaxy S7) which we could not collect (phone appears to have
been factory reset or there is some other issue and the device continuously reboots and only stops when the battery
dies.). Mr. Hopper communicated that he would ship another device (Samsung Galaxy S9) but we have not received this
device yet. As for his other accounts, we have only been able to collect publicly available information from Mr. Hopper’s
@TrueAmVanguard Twitter account and Mr. Hopper’s BloodAndSoil.org website. We have not been able to proceed
with other accounts because we have not received credentials/passwords.

We have not been able to collect anything for Vanguard America because of incorrect credentials or missing credentials
information.

Regards,
Ken


Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




iDS is a proud Chambers and Partners Band 2 Ranked eDiscovery provider!
https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial


From: Roy III, Daniel P. <droy@cooley.com>
Sent: Thursday, December 5, 2019 10:51 AM
To: Ken Kim <kkim@idsinc.com>
Cc: Michael Bloch <mbloch@kaplanhecker.com>; Siegel, Joshua <jsiegel@cooley.com>; Levine, Alan
<alevine@cooley.com>
Subject: RE: Sines v. Kessler - Thomas Ryan Rousseau

Hi Ken,

We wanted to follow up on the below, as well as Vanguard America more generally. Have you received any electronic
devices from either Mr. Rousseau or Mr. Hopper? In addition, have you had any success with any of the social media or
email accounts they have identified? Re-attaching everything here for your convenience.
                                                                         1
    Case 3:17-cv-00072-NKM-JCH Document 650-1 Filed 02/12/20 Page 3 of 4 Pageid#: 8643


Thanks,

Dan



From: Ken Kim <kkim@idsinc.com>
Sent: Thursday, October 24, 2019 4:24 PM
To: Roy III, Daniel P. <droy@cooley.com>
Cc: Michael Bloch <mbloch@kaplanhecker.com>; Siegel, Joshua <jsiegel@cooley.com>
Subject: RE: Sines v. Kessler - Thomas Ryan Rousseau

[External]

Hi Dan:

Thank you for providing the attached and below information. We will look at these internally and reach out should we
have any questions.

Regards,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




iDS is a proud Chambers and Partners Band 2 Ranked eDiscovery provider!
https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial


From: Roy III, Daniel P. <droy@cooley.com>
Sent: Thursday, October 24, 2019 4:17 PM
To: Ken Kim <kkim@idsinc.com>
Cc: Michael Bloch <mbloch@kaplanhecker.com>; Siegel, Joshua <jsiegel@cooley.com>
Subject: Sines v. Kessler - Thomas Ryan Rousseau

[EXTERNAL SENDER]
Hi Ken,

Attached please find a Twitter authorization form from Thomas Ryan Rousseau, as well as his signed ESI
certification. We will be following up with his counsel to ensure that he sends over his devices and submits the
necessary Discord authorization forms. Let me know if you have any questions.

Thanks,

Dan

Daniel P. Roy III
Cooley LLP
55 Hudson Yards
New York, NY 10001-2157
                                                                         2
    Case 3:17-cv-00072-NKM-JCH Document 650-1 Filed 02/12/20 Page 4 of 4 Pageid#: 8644
+1 212 479 6784 office
+1 212 479 6275 fax
+1 860 933 3665 mobile
droy@cooley.com

Cooley is one of Fortune’s 100 Best Companies to Work For

Cooley is a Crain’s New York Business Best Place to Work

Cooley GO > Start and build your business




This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.
If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System
Administrator.


INFORMATION CLASSIFICATION NOTICE: This electronic communication (including any attachments) is
intended to be viewed only by the individual(s) to whom it is addressed. It may contain information that is
privileged, proprietary, confidential and/or protected from disclosure by applicable law. Any disclosure,
dissemination, distribution, copying, exporting or other use of this communication or any attached document(s)
other than for the purpose intended by the sender is strictly prohibited without prior written permission from the
sender. If you have received this communication in error, please notify the sender immediately by reply e-mail
and promptly destroy all electronic and printed copies of this communication and any attached documents.


This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.
If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System
Administrator.


INFORMATION CLASSIFICATION NOTICE: This electronic communication (including any attachments) is
intended to be viewed only by the individual(s) to whom it is addressed. It may contain information that is
privileged, proprietary, confidential and/or protected from disclosure by applicable law. Any disclosure,
dissemination, distribution, copying, exporting or other use of this communication or any attached document(s)
other than for the purpose intended by the sender is strictly prohibited without prior written permission from the
sender. If you have received this communication in error, please notify the sender immediately by reply e-mail
and promptly destroy all electronic and printed copies of this communication and any attached documents.




                                                                                   3
